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                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                                                                                        December 21, 2018
                           UNITED STATES DISTRICT COURT
                                                                                         David J. Bradley, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

UNITED STATES OF AMERICA,                         §
                                                  §
VS.                                               § CIVIL ACTION NO. 7:18-CV-303
                                                  §
26.000 ACRES OF LAND, MORE OR                     §
LESS, et al,                                      §
                                                  §
         Defendants.                              §


                    AGREED ORDER ON PLAINTIFF’S OPPOSED
                       MOTION FOR IMMEDIATE POSSESSION
_____________________________________________________________________________
      After considering Plaintiff’s Opposed Motion for Immediate Possession, the response,

and after a hearing, the Court hereby

       1. GRANTS the United States motion; that its officers, employees, agents, and

       contractors shall have the right to enter upon the Property for the purpose of conducting

       environmental assessments and property surveys, including the right to temporarily store,

       move and remove necessary equipment and supplies; survey, stake out, appraise, bore

       and take soil and/or water samples, and perform any other such work which may be

       necessary and incidental designed to help secure the United States/Mexico border within

       the State of Texas for a period of twelve (12) months. The easement acquired by the

       United States will begin immediately and will end on December 12, 2019. Additionally,

       the United States is granted the right to trim or remove any vegetative or structural

       obstacles (such as posts, etc, but not building structures) on the property that interfere

       with the aforementioned purpose and work.


The Court further ORDERS:

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       2. The United States will give Defendant seventy-two (72) hours notice by e-mail, to

       David Garza, attorney for the Pharr Oratory, at dgarza@garzaandgarza.com, prior to

       entry upon the land. The Defendant will have forty-eight (48) hours to notify the

       Government that entry upon the land as noticed by the Government is not possible due to

       a conflicting event to be held on the Property. If the Defendant invokes this right of

       conflict on two occasions, the Government may then enter the property with seventy-two

       (72) hours notice, but defendant will not be entitled to object or prevent entry.


       3. Separately, the government agrees that it will not enter the land at the following days:

       Saturday, Sunday, or Christmas, April 18, 2019 and April 19, 2019.


       4. All tools, equipment, and other property taken upon or placed upon the land by the

       Government shall remain the property of the Government. No tools, equipment, or other

       property will be stored upon the land by the government, except when in actual or

       imminent use. All property will be removed after the survey and assessment easement

       work is completed within one week.

       SO ORDERED this 21st day of December, 2018, at McAllen, Texas.


                                                 ___________________________________
                                                 Randy Crane
                                                 United States District Judge
APPROVED & ENTRY REQUESTED:
 RYAN K. PATRICK
 United States Attorney
 Southern District of Texas

 By:    s/John A. Smith, III_
 JOHN A. SMITH, III
 Assistant United States Attorney
 Southern District of Texas No. 8638
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/s/ David C. Garza
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Attorney for Defendant
The Pharr Oratory of St. Philip Neri of
Pontifical Rite




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